Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 1 of 8
Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 2 of 8
Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 3 of 8
Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 4 of 8
Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 5 of 8
Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 6 of 8
Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 7 of 8
Case 8:03-cr-00321-DKC   Document 623   Filed 12/24/08   Page 8 of 8
